Case 2:03-cr-20169-.]DB Document 535 Filed 05/24/05 Page 1 of 3 Page|D 597
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/).(c.,
IN THE UNITED STATES DISTRICT COURT y
FOR THE WESTERN DISTRICT OF TENNESSEE[;.; f m

WESTERN DIVISroN P:":?

 

UNITED STATES OF AMERICA,

Plaintiff,
vs. No. 03-20169-B
ERIC BROWN,

Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the Government's motion to continue the Sentencing of

defendant, ERIC BROWN, currently set for May 26, 2005, is hereby GRANTED, and the

Sentencing is hereby reset to J|A{A?_, _LL, 2005, at cf 1 OQ im_

DONE at Memphis, Tennessee, this f day of&l, 2005.

/

@ED STATES DISTRr?ST JUDGE

‘__.,

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APPROVED: ;Z g

Thomas A. Colthurst
Assistant U.S. Attorney

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UNITED `sETATSDISTRIC COUR - WESERNT D's'TRCT oFTENNESSEE

   

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Honorable .1. Breen
US DISTRICT COURT

